Action to recover $217 with interest from 3 December, 1923, on trade acceptance for goods sold and delivered.
From a judgment in favor of the defendant, on a verdict, plaintiff appealed. No error.
The defendant denied that he executed the trade acceptance sued on. Plaintiff introduced evidence tending to show that the signature in the name of the defendant was in his hand-writing. Defendant denied that the signed it and offered evidence tending to show that it was not in his handwriting, and upon a proper charge as favorable to the plaintiff as it could obtain under the law, the jury has resolved this question of fact in favor of the defendant. There is no prejudicial error upon the record. Therefore, let it be certified that there is
No error. *Page 876 